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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

 STATE OF FLORIDA,

           Plaintiff,

 v.                                                   Case No. 3:23cv9962-TKW-ZCB

 ALEJANDRO MAYORKAS, et al.,

      Defendants.
_________________________________/

                        TEMPORARY RESTRAINING ORDER

       This case is before the Court based on Florida’s emergency motion for a

temporary restraining order (TRO) (Doc. 2) and Defendants’ response in opposition

(Doc. 9). No hearing is necessary to rule on the motion, and upon due consideration

of the parties’ filings and the entire case file, the Court finds for the reasons that

follow that the motion is due to be granted.

                                        Background

       The Southwest Border has been out of control for the past 2 years. And it is

about to get worse because, at midnight tonight, the Title 42 Order expires.1


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          The Title 42 Order allowed immigration officials to turn arriving aliens away at the
border without placing them in immigration proceedings or considering their asylum claims. The
expiration of the Title 42 Order has been a long time coming because it was put in place by the
Center for Disease Control to address public health concerns about COVID-19, and it is common
knowledge that the COVID-19 pandemic has been “over” for quite some time. See Arizona v.
Mayorkas, 143 S. Ct. 478, 479 (2022) (Gorsuch, J., dissenting) (noting that there was no serious
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       The expiration of the Title 42 Order is expected to result in a “surge” of aliens

seeking to enter the country because there are reportedly tens of thousands of aliens

staged at the Southwest Border waiting for the Title 42 Order to expire so that they

can seek to enter the country. And that is on top of the tens of thousands of aliens

that have reportedly crossed the border into the country each day over the past few

weeks in anticipation of the Title 42 Order expiring.

       The current situation at the border underscores the Court’s recent finding that

there is an immigration “crisis” at the Southwestern Border. See Florida v. United

States, 2023 WL 2399883, at *1 (N.D. Fla. Mar. 8, 2023). And, consistent with the

Court’s finding, President Biden reportedly acknowledged within the past few days

that there has been “chaos at the border for a number of years” and warned that the

situation at the Southwest Border is going to be “chaotic for a while” after the Title

42 Order expires.

       The Biden Administration blames Congress for the immigration crisis and the

chaos coming to the border.                Congress blames President Biden and his

Administration. In the Florida decision, the Court pinned much of the blame for the

crisis at the border on the “non-detention policies” put in place by the Biden



dispute that the public-health justification undergirding the Title 42 orders has lapsed, that “the
current border crisis is not a COVID crisis,” and that “courts should not be in the business of
perpetuating administrative edicts designed for one emergency only because elected officials have
failed to address a different emergency”).



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Administration—but the Court noted that it is the responsibility of the political

branches (collectively), not the Court, to solve the immigration crisis. Id.; see also

id. at *21 (noting that the Court’s job was to merely “to ‘say what the law is’ … and

then let the political chips fall where they may”).

       The Court hoped that after issuing the decision in Florida, it would be able to

go back to its normal docket and simply watch the political finger-pointing about the

immigration crisis from afar. That, however, was not to be.

       Yesterday afternoon, I was randomly assigned a new lawsuit filed by Florida

against DHS Secretary Mayorkas, U.S. Border Patrol (USBP) Chief Ortiz, and the

United States of America, alleging that “DHS plans to immediately restart the en

masse parole of aliens at the Southwest Border.” Doc. 1 at 2 (¶6) (citing an NBC

news article2 quoting a DHS spokesperson’s summary of the plan). Florida claimed

that this “new policy” violates this Court’s decision in Florida that vacated DHS’s

“Parole+ATD policy” and is contrary to the Immigration and Nationality Act (INA).

Id. (¶7). Among other things, Florida’s complaint asks the Court to declare the new

policy unlawful and enjoin DHS from enforcing or implementing it. Id. at 9.

       This morning, Florida filed an emergency motion asking the Court to enter a

TRO “preventing DHS from implementing the new parole policy or otherwise using


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         Biden admin to allow for the release of some migrants into the U.S. with no way to track
them, https://www.nbcnews.com/politics/biden-admin-plans-order-release-migrants-us-no-way-
trackrcna83704 (May 10, 2023 8:44 a.m. CDT).

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[8 U.S.C.] §1182(d)(5) as a tool of operational convenience, to relieve

overcrowding, or to facilitate faster processing at the Southwest border.” Florida

thereafter filed a copy of the challenged policy with the Court. See Doc. 5-1.

Defendants were ordered to file a response to Florida’s emergency motion on an

expedited basis, which they did.

                              The Challenged Policy

      The policy challenged by Florida in this case is set forth in a memorandum

issued by U.S. Border Patrol Chief Raul Ortiz yesterday, titled “Policy on Parole

with Conditions in Limited Circumstances Prior to the Issuance of a Charging

Document (Parole with Conditions).”           The memorandum explains how U.S.

Customs and Border Patrol (CBP) will exercise its parole authority under 8 U.S.C.

§1182(d)(5) to release arriving aliens into the country “conditioned on [the alien],

within 60 days, scheduling an appointment to appear at an U.S. Immigration and

Customs Enforcement (ICE) facility for initiation of appropriate removal

proceedings or requesting service, via designated online location, of a Notice to

Appear (NTA) by mail.” See Doc. 5-1 at 1.

      The memorandum explains that CBP will exercise its parole authority under

the policy when “there are conditions requiring the expeditious processing of [aliens]

in exigent circumstances in order to ensure (1) appropriate and safe conditions for

the health and safety of individual [aliens] in custody and (2) USBP’s continued


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ability to carry out its critical border security and enforcement mission.” Id. at 2.

The policy states that it is a “tool that should only be used when one of the limited

triggers below are met.” Id. The triggers include processing capacity and time-in-

custody thresholds at CBP facilities and periods when there are more than 7,000

apprehensions per day across the Southwest Border. Id. at 4.3

       When those triggers are met, the policy requires an “individual assessment”

of the alien for parole eligibility. Id. at 5-6. That assessment includes, among other

things, a “biometric identity verification,” an evaluation of the alien’s “immigration

background,” and “vetting of any national security or criminal concerns.” Id. at 5.

The policy also requires USBP to collect and document a physical address for each

alien, id. at 6, but it does appear to require any action to verify the legitimacy of the

address.

       The memorandum states that the parole policy may not be used for aliens who

“pose a national security risk, unmitigable flight risk, public safety threat,” or who

are unaccompanied children. Id. at 6. Nor may the policy be used if the alien is

subject to the mandatory detention requirements in 8 U.S.C. §1226(c). Id.




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          It is noteworthy that the affidavit submitted by Defendants explains that eight of nine
sectors are already over capacity and predicts that there will be 12,000 to 14,000 encounters per
day over the coming weeks, which suggests that these triggers will be readily met and that use of
the challenged policy will be widespread and immediate.

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      The memorandum claims that the aliens “are not simply released into the

community” because “they are required to schedule an appointment with ICE for the

initiation of … removal proceedings, as appropriate, or, at a designated online

location, request service of an NTA by mail,” id. at 2, but the grant of parole under

the challenged policy does not place any restrictions on where the aliens can go or

require electronic monitoring or any other safeguard to track the aliens’ locations

once released into the country. The memorandum states that the “initial” grant of

parole “should generally be for 60 days,” id. at 5, which suggests that there could be

circumstances where parole could initially be granted for more than 60 days and/or

that the parole could be extended through subsequent grants.

      The memorandum states that the purpose of the parole is to “allow[] the [alien]

to schedule an appointment to appear at an ICE facility for the initiation of

appropriate removal proceedings of an NTA by mail,” and it states that the parole is

“automatically terminated upon expiration of the period for which parole was

authorized.” Id. The memorandum states that “CBP and ICE will equally share

responsibility and work jointly to streamline and complete charging document

issuance” for aliens paroled under the policy, id., but it does not explain who is

responsible for tracking down any aliens who do not check in with ICE as required

as a condition of parole.




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      The memorandum concludes by asserting that the new parole policy is not

subject to notice and comment under the Administrative Procedure Act (APA)

because the situation at the border is “quickly evolving into exigent circumstances”

and “urgent action” is required based on the “surge” that USBP is experiencing at

the Southwest Border over the past week. Id. at 6-7. However, the memorandum

does not explain how this surge was unexpected or why DHS waited until the day

before the Title 42 Order was scheduled to end before issuing the new parole policy.

                                     Analysis

      The Court has authority to issue a TRO under Fed. R. Civ. P. 65.

      “A TRO … is appropriate where the movant demonstrates that (a) there is a

substantial likelihood of success on the merits; (b) the TRO … is necessary to

prevent irreparable injury; (c) the threatened injury outweighs the harm that the TRO

… would cause to the non-movant; and (d) the TRO … would not be averse to the

public interest.” Parker v. State Bd. of Pardons & Paroles, 275 F.3d 1032, 1034-35

(11th Cir. 2001).

      A TRO “is an extraordinary and drastic remedy not to be granted unless the

movant ‘clearly carries the burden of persuasion’ as to the four prerequisites,” see

United States v. Jefferson Cnty., 720 F.2d 1511, 1519 (11th Cir. 1983) (quoting

Canal Authority v. Callaway, 489 F.2d 567 (5th Cir.1974)), but “the first two factors

… are the most critical,” Niken v. Holder, 556 U.S. 418, 435 (2009); see also Schiavo


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ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1232 (11th Cir. 2005) (“The first of the

four prerequisites to temporary injunctive relief is generally the most important.”).

       The Court finds for the reasons that follow that Florida has carried its burden

of persuasion.

       With respect to the first factor, the Court has no trouble concluding that

Florida has a substantial likelihood of success on the merits because the challenged

policy appears to be materially indistinguishable from the Parole+ATD policy

vacated in Florida—both in its purpose (reducing overcrowding at border patrol

facilities) and manner of operation (releasing aliens into the country without first

issuing a charging document placing them in immigration proceedings and simply

directing the aliens to report to ICE within a specified period for further processing).4

The Court determined in Florida that the Parole+ATD policy was final agency

action under the APA, that Florida had standing to challenge the policy, and that the

policy violated the APA because it was contrary to law, arbitrary and capricious, and

adopted without notice and comment.5 The Court sees nothing materially different


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           One curious difference is that, under the Parole+ATD policy, aliens were given only 15
days to report to an ICE facility to be issued an NTA, but under the new policy, aliens are given
four times as long (60 days) to report to an ICE facility. The memorandum adopting the new
policy does not explain the rationale for this extended period, and it would seem that the longer
the alien is in the country, the greater the chance that he or she will disappear and the more difficult
it will be to find him or her for removal proceedings.
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         Defendants’ arguments on these points (Doc. 9 at 15-19, 28-38) largely rehash the
arguments that (rightly or wrongly) the Court rejected in Florida, and their new argument that
“good cause” excuses compliance with notice and comment (id. at 32-36) is unpersuasive because

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about the new policy or the parties’ arguments that would compel a different result

with respect to the policy challenged in this case.

       One of the fundamental flaws with the Parole+ATD policy is that it did not

contemplate that the alien would be returned to custody once the purposes of parole

had been served, as required by the plain language of 8 U.S.C. §1182(d)(5). See

Florida, 2023 WL 2399883, at *29-30. The same appears to be true of the

challenged policy, which is primarily intended to relieve overcrowding at border

patrol facilities by more quickly releasing aliens into the country for further

processing when (or if) they report to an ICE facility.                  The policy does not

contemplate that the alien would be taken into custody at the ICE facility and, as was

the case with the Parole+ATD policy, aliens released under the challenged policy

would not have an immigration “case” that can “continue to be dealt with” after the

purposes of the parole have been served. Id. at *30.




Defendants have known for quite some time when the Title 42 Order was going to expire and what
was likely to happen when it did. See Florida, 2023 WL 2399883, at *3 (finding that the
encounters at the border “are expected to increase significantly when the Title 42 Order is no
longer in place”); Arizona, 143 S. Ct. at 479 (Gorsuch, J., dissenting) (noting in an opinion issued
in December 2022 that “[e]ven the federal government acknowledges that the end of the Title 42
orders will likely have disruptive consequences”) (internal quotations omitted). Moreover, it
appears that there was ample time for DHS to go through notice and comment if it wanted to—as
it did with the new asylum rules initially noticed in February 2023 and finalized yesterday as part
of DHS’s strategy to deal with the expiration of the Title 42 Order.



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       The challenged policy appears to do a better job than the Parole+ATD policy

in explaining how it conforms to the “case-by-case” requirement in §1182(d)(5).6

However, like the Parole+ATD policy, the new policy does not explain how a

meaningful evaluation of the criteria that determine whether the policy may be

utilized (e.g., the alien’s “national security risk” and “public safety threat”) could

possibly occur in light of the the evidence in Florida, which established that DHS

“has no idea whether [the arriving aliens] have criminal histories or not” because it

“has no way to determine if an alien has a criminal history in his home country unless

that country reports the information to the U.S. government or the alien self-reports.”

Id. at *12; see also id. at *31 (rejecting DHS’s argument that the Parole+ATD policy

conforms to the parole regulation, 8 C.F.R. §212.5, because “the supplemental

administrative record does not explain how it CBP officers can make a meaningful

determination as to whether the alien is a security risk (as contemplated by the

regulation) if the alien’s home country does not share its criminal history databases

with the United States”). Moreover, whenever the policy discusses individual, case-



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           That said, given that the stated purpose of the policy is to move aliens out of border patrol
facilities and into the country more quickly, it seems unlikely that the “case-by-case” assessment
will be meaningful. See Florida, 2023 WL 2399883, at *30 (finding that it was “implausible” that
the border patrol could meaningfully assess an alien’s individual circumstances in 15 to 30
minutes); Biden v. Texas, 142 S. Ct. 2528, 2254-55 (2022) (Alito, J., dissenting) (noting that
“simply ... going through a brief checklist for each alien” is “inconsistent with the ordinary
meaning of ‘case-by-case’ review” and that the sheer number of aliens paroled each month “gives
rise to a strong inference that the [g]overnment is not really making these decisions on a case-by-
case basis”).

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by-case consideration of each alien, it does so with reference to overcrowding and

the CBP’s resource constraints, not with regard to any characteristics of that specific

alien that might constitute a legally sufficient reason for parole, which strongly

suggests that the repeated “case-by-case,” “individualized” language is (as it was in

the Parole+ATD policy) pretextual.

      Additionally, the memo adopting the challenged policy does not reflect any

consideration of the additional backlog that will likely be created by releasing aliens

into the country without initiating immigration proceedings and then having to track

them down to do so if they do not report to ICE—as DHS had to do in the “Operation

Horizon” program discussed in the Florida decision. Id. at *11, *32.

      The Court did not overlook Defendants’ arguments as to why Florida is

unlikely to succeed on the merits and why the new policy is different from the

vacated Parole+ATD policy. See Doc. 9 at 20-36. However, the Court simply does

not find those arguments persuasive. That said, the Court agrees with Defendants

that the Florida decision “did not preclude DHS from using its parole authority in

other ways,” id. at 22, but what DHS cannot do is adopt a functionally identical

policy as the one the Court vacated in the Florida decision and then expect a different

outcome when that policy is challenged.




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       With respect to the second factor, the evidence presented in Florida

established that Florida suffers substantial harm—both to its sovereignty7 and its

public fisc—when the federal government releases aliens into the country on

“parole” (or otherwise) rather than detaining them as required by the INA. See

Florida, 2023 WL 2399883, at *17-18. That same harm will flow from the new

policy because, as was the case with the Parole+ATD policy vacated in Florida, the

new policy is intended to “shift the processing of arriving aliens to ICE facilities

around the country that are closer to the aliens’ final destinations.” Id. at *14. The

harm to Florida is irreparable because it “cannot be undone through monetary

remedies,” Ne. Fla. Chapter of Ass'n of Gen. Contractors of Am. v. City of

Jacksonville, Fla., 896 F.2d 1283, 1285 (11th Cir. 1990), because the United States

has sovereign immunity from damages claims, see Odebrecht Const., Inc. v. Sec’y,

Fla. Dep’t of Transp., 715 F.3d 1268, 1289 (11th Cir. 2013); see also State of Florida

v. Becerra, 544 F. Supp. 3d 1241, 1300 (M.D. Fla. 2021) (observing that in an APA

action, sovereign immunity bars the recovery of monetary damages from the federal

government, thereby making the state’s financial injury irreparable), and there is no


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          The Eleventh Circuit has recognized that even though injuries to state sovereignty are
“intangible,” they are real and concrete. See W. Virginia by & through Morrisey v. U.S. Dep’t of
the Treasury, 59 F.4th 1124, 1136 (11th Cir. 2023). And, as Justice Scalia explained in Arizona
v. United States, controlling immigration “is an inherent attribute of sovereignty” and it is
questionable whether the States would have ratified the Constitution if it had provided that limits
on immigration “will be enforced only to the extent the President deems appropriate” because the
States “jealously guarded” their sovereignty during the Constitutional Convention. 567 U.S. 387,
422, 436 (2012) (Scalia, J., concurring in part and dissenting in part).

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way to remedy the impact on state sovereignty that flows from the Florida’s inability

to exclude aliens who were improperly “paroled” into the country from its territory.

      The third and fourth factors “merge when the Government is the opposing

party.”   Niken, 556 U.S. at 435.      “The public interest in enforcement of the

immigration laws is significant,” Blackie’s House of Beef, Inc. v. Castillo, 659 F.2d

1211, 1221 (D.C. Cir. 1981), and it is even more significant here because DHS’s

decision to “parole” aliens into the country without first initiating immigration

proceedings is precisely what the Court told DHS it could not lawfully do in Florida.

See League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)

(“There is generally no public interest in the perpetuation of unlawful agency

action.”); United States v. Alabama, 691 F.3d 1269, 1301 (11th Cir. 2012)

(“[F]rustration of federal statutes and prerogatives are not in the public interest….”);

see also Ala. Ass’n of Realtors v. HHS, 141 S. Ct. 2485, 2490 (2021) (“[O]ur system

does not permit agencies to act unlawfully even in pursuit of desirable ends.”);

Becerra, 544 F. Supp. 3d at 1304 (concluding that the state’s high likelihood of

success on the merits showed that injunctive relief preventing the likely unlawful

agency action was in the public interest).

      The Court did not overlook Defendants’ argument that the new policy “comes

in response to a moment of crisis at the border,” Doc. 9 at 13, and that “[a]n order

restricting DHS’s parole authority on the eve of the crisis has the serious potential


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to cause chaos and undermine the security of the border and the safety of border

officials,” id. at 5. Putting aside the fact that even President Biden recently

acknowledged that the border has been in chaos for “a number of years,”

Defendants’ doomsday rhetoric rings hollow because, as explained in detail in

Florida, this problem is largely one of Defendants’ own making through the

adoption an implementation of policies that have encouraged the so-called “irregular

migration” that has become fairly regular over the past 2 years.

      Nor did the Court overlook the assertion in the affidavit submitted by

Defendants with their response in opposition to the motion for a TRO that “[t]he

public safety and national security impacts of [enjoining the Parole with Conditions

memorandum] would be extraordinary” because it would force USBP to “violate

court orders” and possibly leave USBP with “only untenable options such as

declining to fully process individuals at all and potentially not even apprehend them

to start.” Doc. 9-2 at 9-10. However, USBP has been in essentially that same

position since March when the Court vacated the substantially identical Parole+ATD

policy. Moreover, the Court fails to see a material difference between what CBP

will be doing under the challenged policy and what it claims that it would have to

do if the policy was enjoined, because in both instances, aliens are being released

into the country on an expedited basis without being placed in removal proceedings

and with little to no vetting and no monitoring.


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       Finally, although the Government did not make the argument, the Court did

not overlook that 8 U.S.C. §1252(f)(1) prohibits any court other than the Supreme

Court from “enjoin[ing] or restrain[ing] the operation” of certain aspects of the INA.

However, §1252(f)(1) specifically refers to Part IV of the INA, and the parole statute

that Defendants purport to implement through the challenged policy is in Part II of

the INA. Thus, as explained in Florida, §1252(f)(1) does not preclude the Court

from enjoining DHS’s misuse of its parole authority. 2023 WL 2399883, at *35

(rejecting DHS’s argument that §1252(f)(1) precludes the Court from enjoining the

Parole+ATD policy and noting that “any indirect impact that vacatur of that policy

might have on how DHS exercises its authority under part IV of the INA does not

equate to the Court having ‘enjoined or restrained’ the operation of that part”)

(alterations adopted).

                                           Conclusion

       In sum, for the reasons stated above, the Court finds that Florida is entitled to

a TRO enjoining the implementation and enforcement of DHS’s newly adopted

parole policy. No bond is required.8 Accordingly, it is


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         Rule 65(c) states that the court may issue a TRO “only if the movant gives security in an
amount the court considers proper to pay the costs and damages sustained by any party found to
have been wrongfully enjoined or restrained,” but it is well established in this Circuit that “the
amount of security required by the rule is a matter within the discretion of the trial court” and “the
court ‘may elect to require no security at all.’” City of Atlanta v. Metro. Atlanta Rapid Transit
Auth., 636 F.2d 1084, 1094 (5th Cir. 1981) (quoting Corrigan Dispatch Co. v. Casaguzman, F.A.,
569 F.2d 300, 303 (5th Cir. 1978)). Here, Defendants do not identify any monetary costs or
damages they might suffer if the new parole policy is temporarily enjoined, so the Court sees no

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       ORDERED that:

       1.      DHS is enjoined from implementing or enforcing the parole policy

contained in the May 10, 2023, Memorandum from U.S. Border Patrol Chief Raul

Ortiz, titled “Policy on Parole with Conditions in Limited Circumstances Prior to

Issuance of a Charging Document (Parole with Conditions).”

       2.      This TRO will take effect at 11:59 p.m. eastern time to correspond with

the expiration of the Title 42 Order and to give Defendants an opportunity to seek

an emergency stay from a higher court.

       3.      This TRO will expire 14 days from the date of this Order. See Fed. R.

Civ. P. 65(b)(2).

       4.      A preliminary injunction hearing is scheduled for May 19, 2023,9 at

9:00 a.m. in the United States Courthouse, 1 North Palafox Street, Courtroom 4

North, Pensacola, Florida.



reason to impose a bond as a condition of the TRO. Accord Texas v. United States, 524 F. Supp.
3d 598, 668 (S.D. Tex. 2021) (requiring no security bond for preliminary injunction barring DHS
from pausing removals).
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          The hearing was scheduled for this date because the Court has two long-overdue criminal
trials scheduled for the following week. The Court understands that Fed. R. Civ. P. 65(b)(3) states
that the preliminary injunction hearing is to “tak[e] precedence over all other matters except other
matters of the same character,” but the Court is not inclined to reschedule those trials when it has
an earlier date available for the preliminary injunction hearing. And, if the May 19 date is not
convenient to the parties, they can agree to a brief extension of the TRO under Rule 65(b)(2) to
allow the preliminary injunction hearing to occur the following week—perhaps on May 30. Or, if
the parties have no other evidence or argument that they think might change the Court’s mind on
application of the preliminary injunction factors, they can agree to convert this TRO into a
preliminary injunction so they can seek appellate review sooner rather than later.

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 DONE and ORDERED this 11th day of May, 2023.




                              _________________________________
                              T. KENT WETHERELL, II
                              UNITED STATES DISTRICT JUDGE




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